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IN THE UNITED STATES DISTRICT COURT ' “'

  

 

 

FoR THE WESTERN DISTRICT oF TENNESSEE 5 UL q AH 7_ 2
WESTERN nlvlsloN ‘ L*
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W!DLK" 1 11111/;:11;)1113
UNITED sTATEs 0F AMERICA
v.
wILLIE HEARD oscrzozzs-D

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that he is attempting to obtain private
counsel to represent him in this action. Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. §3 l 61(h)(8)(B)(iv), a defendant may be granted a period of excludable delay While
attempting to obtain private counsel.

It ls therefore ORDERED that the time period of 7/§ //55 through

7/27/5 be excluded from the time its imposed by the Speedy Trial Act

for trial of this case, while the defendant is attempting to obtain private counseI.

ARRAIGNMENT IS RESET TO WEDNESDAY. JULY 27.. 2005 AT 9:30 A.M. BEFORE

MAGISTRATE JUDGE DIANE K. VESCOVO

This Q'Q"£‘day of YRLJ .2005.

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UNITED STA'I`ES MAGISTRATE JUDGE

Thls document entered on the docket sheet fn Ympllance
with Hu|e 55 and/or 32(b) FHCrP on ' ’ , g

UNITED sTAsTE DISTRICT COURT - W"'RNT DISTRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20225 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Stephen P. Hall

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Honorable Bernice Donald
US DISTRICT COURT

